                 Case 1:23-mj-01013-WRP Document 14-1 Filed 06/28/23 Page 1 of 5 PageID.45
AO 93C 08/ 18 Warrant b Tel hone or Other Reliable Electronic Means                       li1J 01iginal                O Duplicate 01iginal


                                           UNITED STATES DISTRICT COURT
                                                                            for the
                                                                      Distiict of Hawaii

                  In the Matter of the Search of                                 )
              (Briefly describe the property to be searched                      )
               or identifv the.J?erson by name and address)                      )      Case No. Mag. No. 23-00995 WRP
           888 Kapiorani r:slvd, Apt 4301 , Honolulu, HI
                                                                                 )
                                                                                 )
                                                                                 )

                 WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the   _ _ _ _ _ _ _ _ Distiict of                           Hawaii
(identify the person or describe the property to be searched and give its location) :
 See Attachment A, attached hereto and incorporated by reference.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
desc1ibed above, and that such search will reveal (identifv the person or describe the property to be seized):
 See Attachment B, Attached Hereto and incorporated .by reference.




          YOU ARE COMMANDED to execute this wanant on or before                                     July 6, 2023                   (not to exceed 14 days)
      ~ in the daytime 6:00 a.m. to 10:00 p.m.                 D at any time in the day or night because good cause has been established.

        Unless delayed notice is autho1ized below, you must give a copy of the wan ant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
prope1ty was taken.
        The officer executing this wan ant, or an officer present dming the execution of the wanant, must prepare an invento1y
as required by law and promptly return this wanant and invento1y to                         Hon. Rom Trader
                                                                                                          (United States Magistrate Judge)

     D Pursuant to 18 U.S .C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of tifal), and authorize the officer executing this wan ant to delay notice to the person who, or whose
prope1ty, will be searched or seized (check the appropriate box)
     D for _ _ days (not to exceed 30) □ until, the facts justifying, the later specific date of


Date and time issued:          06/22/2023 at 11 :48 a.m.


City and state:             _H
                             _o_n_o_lu_l_u'-
                                         ,H  _ aw
                                                _ a_
                                                   ii _ _ _ _ _ __                                                 Rom A. Trader
                                                                                                                   United States Magistrate Judge

                                                                      EXHIBIT 1
 Case 1:23-mj-01013-WRP Document 14-1 Filed 06/28/23 Page 2 of 5 PageID.46



                             ATTACHMENT A

                           Property to be Searched

      888 Kapiolani Blvd, Apt 4301, Honolulu, HI, the residence of Avery

GARRARD and Keina DRAGESET (the “PREMISES”), more specifically

described as follows:

Photographs of the subject PREMISES are below:




                                       1
Case 1:23-mj-01013-WRP Document 14-1 Filed 06/28/23 Page 3 of 5 PageID.47




                             ATTACHMENT B

          List of Items Authorized to be Searched for and Seized

    Evidence relating to violations of the Controlled Substances Act, including
    but not limited to violations of Title 21, United States Code, Sections
    841(a)(1), 844, and 846, and involving GARRARD and DRAGESET and
    others, known and unknown, including:

       a. Controlled substances held in violation of 21 U.S.C. §§ 841(a)(1) and
          846;
       b. Paraphernalia for using, packaging, processing, weighing, and
          distributing controlled substances, to wit: scales, funnels, sifters,
          grinders, glass panes and mirrors, razor blades, plastic bags, heat-
          sealing devices, pipes, butane torches, lighters, etc.;
       c. Books, records, receipts, notes, ledgers and other papers relating to the
          distribution of controlled substances;
       d. Personal books and papers reflecting names, addresses, telephone
          numbers, and other contact/identification data relating to the
          distribution of controlled substances;
       e. Cash, currency, and records relating to income and expenditures of
          money and wealth from controlled substances, to wit, money orders,
          wire transfer and cashier’s check receipts, and bank statements,
          passbooks, checkbooks, and check registers;
       f. Any computers, including desktop computers and laptop computers,
          tablets, mobile phones, pagers, storage devices such as hard drives,
          thumb drives, zip disks, and CDs that were or may have been used as
          a means to store contact/identification data, records, notes, and/or
          ledgers relating to the distribution of controlled substances and/or
          purchase illegal substances in violation of 21 U.S.C. §§ 841and 846;
       g. Items of personal property which tend to identify the person(s) in
          residence, occupancy, control or ownership of the premises that is the
          subject of this warrant, including but not limited to cancelled mail,
          deeds, leases, rental agreements, photographs, personal telephone
          books, diaries, utility and telephone bills, statements, identification
          documents, and keys;


                                        1
 Case 1:23-mj-01013-WRP Document 14-1 Filed 06/28/23 Page 4 of 5 PageID.48



         h. Waybills, airbills, bills of lading, receipts, delivery notices, and other
            shipping documentation from the U.S. Postal Service, small package
            carriers, or common carriers which indicate the shipment of packages
            and parcels to and from Hawaii, boxes and packaging material used
            for shipping;
         i. Firearms and components, including components or tools that can be
            used to modify or manufacture firearms, ammunition, ammunition
            components and magazines, silencers, books, pamphlets, and
            documentation of firearms and components and
         j. Cellular phones, telephones and telephone answering machines,
            electronic organizers, pagers and other communication devices.
       As used above, the terms “records” and “information” includes all forms of
creation or storage, including any form of computer or electronic storage (such as
hard disks or other media that can store data); any handmade form (such as
writing); any mechanical form (such as printing or typing); and any photographic
form (such as microfilm, microfiche, prints, slides, negatives, videotapes, motion
pictures, or photocopies).

       The term “computer” includes all types of electronic, magnetic, optical,
electrochemical, or other high-speed data processing devices performing logical,
arithmetic, or storage functions, including desktop computers, notebook
computers, mobile phones, tablets, server computers, and network hardware.

      The term “storage medium” includes any physical object upon which
computer data can be recorded. Examples include hard disks, RAM, floppy disks,
flash memory, CD-ROMs, and other magnetic or optical media.

              SEARCH PROCEDURE FOR DIGITAL DEVICES

       In searching digital devices or forensic copies thereof, law enforcement
personnel executing this search warrant or other individuals assisting law
enforcement personnel (the “search team”) will, in their discretion, either search
the digital device(s) on-site or seize and transport the device(s) and/or forensic
image(s) thereof to an appropriate law enforcement laboratory or similar facility to
be searched at that location




                                          2
                 Case 1:23-mj-01013-WRP Document 14-1 Filed 06/28/23 Page 5 of 5 PageID.49
AO 93C (08/ 18) Warrant by Telephone or Other Reliable Electronic Means (Page 2)

                                                                              Return
Case No.:                                 Date and time wanant executed:                  Copy of wanant and invento1y left with:
 Mag. No. 23-00995 WRP                    06/23/2023 @approximately 6:10 a.m.              888 Kapiolani Blvd, APT 4301, Honolulu, HI
Invento1y made in the presence of :
  SA Albeit Miliauskas and SA Joshua Kent
Invento1y of the property taken and name(s) of any person(s) seized:
 -Approximately 550 gross grams of suspected fentanyl powder                                                                   FILED IN
                                                                                                                               FILED IN THE
                                                                                                                                        THE
                                                                                                                      UNITED STATES
                                                                                                                      UNITED STATES DISTRICT
                                                                                                                                     DISTRICT COURT
                                                                                                                                              COURT
 -Approximately 33.9 gross grams of suspected c1ystal methamphetamine                                                      DISTRICT  OF HAWAII
                                                                                                                           DISTRICT OF   HAWAII CC,

 -$150,219 in US Cunency                                                                                                Jun 27, 2023, 3:35 pm
                                                                                                                        Lucy H.Garrillo,
                                                                                                                        Lucy H.Carrillo, a
                                                                                                                                         Clerk of Court
                                                                                                                                           erk of Court
 -One (1) Lenovo Laptop
 -One (1) Women's Watch with "Rolex" name brand, silver in color
 -One (1) computer hard-drive
 -Four (4) Thumb drives
 -Two (2) Black cellular phones
 -One (1) iPad
 -One (1) SD Card
 -One (1) Kingston M.2 SSD Drive




                                                                          Certification


        I declare under penalty ofpe1jmy that this invento1y is conect and was returned along with the 01iginal wanant to the
designated judge.



Date:      06/27/2023
                                                                                                Executing officer's signature

                                                                                   Joshua Kent, SA
                                                                                                     Printed name and title
